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SOUTHERN DISTRICT OF MISSISSIP>I -

FILED

MAY 12 2020
CRIMINAL CASE COVER SHEET
USS. District Court ARTHUR JOHNSTON

BY. DEPUTY
PLACE OF OFFENSE:
RELATED CASE INFORMATION: HSO- JC Ce
CITY: SUPERSEDING INDICTMENT ____——ss DOCKET # CYR
SAME DEFENDANT ~~ NEW DEFENDANT
COUNTY: Harrison MAGISTRATE JUDGE CASE NUMBER 1: 20mj533RHW 4-21-20" 4-21-20°
R 20/ R 40 FROM DISTRICT OF
DEFENDANT INFORMATION:
JUVENILE: YEs X__ No
MATTER TO BE SEALED: YES X NO
NAME/ALIAS: ANTONY DANIEL ABREU a/k/a Anthony Abreu
U.S. ATTORNEY INFORMATION:
AUSA Annette Williams Bar #9641
INTERPRETER: X NO YES LIST LANGUAGE AND/OR DIALECT:
LOCATION STATUS: ARREST DATE 4-21-20
X _ ALREADY IN FEDERAL CUSTODY AS OF 4-21-20
ALREADY IN STATE CUSTODY
ON PRETRIAL RELEASE
U.S.C. CITATIONS
TOTAL # OF COUNTS: 2 PETTY MISDEMEANOR 2 FELONY
(CLERK'S OFFICE USE ONLY) INDEX KEY/CODE DESCRIPTION OF OFFENSE CHARGED COUNT(S)
Set 1 21:846-CD.F 21 USC § 846 Conspiracy to Possess With Intent to 1

Distribute a Controlled Substance

Set 2 21:846-CD.F 21 USC § 846 Attempt to Possess With Intent to 2
Distribute a Controlled Substance
(Aiding & Abetting)

Set 3

Set 4

Set 5

Date: 5| | d Igo xO SIGNATURE OF AUSA: U7 Pet hae Loe
Lunetve Wi eusSroro

